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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF NEW YORK

                  IME Watchdog, Inc.
                                                             ,

                                               Plaintiff,

                           v.                                               Case No.: 1:22-cv-1032(PKC)(JRC)
                 Gelardi, et al.                             ,

                                               Defendant.
  Gelardi & IME Companions,
               Third-Party Plaintiff,               [PROPOSED] SCHEDULING ORDER
 v.
Carlos Roa,                Upon consent of the parties, it is hereby ORDERED as follows:
Third-Party Defendant
                 1.        Date for completion of automatic disclosures required by Rule 26(a)(1) of the Federal

                           Rules of Civil Procedure, if not yet made: 6/15/2022            .

                 2.        No amendment of the pleadings will be permitted after: 9/30/2022            .

                 3.        No additional parties may be joined after: 9/30/2022            .

                 4.        Fact discovery shall be completed by: May 20, 2023           .
                           (Generally, this date must be no later than 6 months after the Initial Conference.)

                 5.        The parties shall make required Rule 26(a)(2) disclosures, if any, with respect to:

                           (a)          expert witnesses on or before 6/16/2023    .

                           (b)          rebuttal expert witnesses on or before 7/17/2023        .

                 6.        All discovery, including depositions of experts, shall be completed by: 9/16/2023 .
                           (Generally, this date must be no later than 9 months after the Initial Conference.)

                 7.        Final date to take first step in dispositive motion practice, if any: 9/30/2023    .
                           (Parties are directed to consult the District Judge’s Individual Practices and Rules
                           regarding such motion practice.)

                 8.        Have the parties agreed to a plan regarding electronic discovery (yes/no)? No         .

                 9.        Should the Court hold an early settlement conference (yes/no)? Yes          .
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          (Prior to the Initial Conference, counsel shall discuss with their clients and their
          adversaries whether an early settlement conference, or other form of alternative dispute
          resolution, is appropriate and be prepared to explain their reasons to the Court.)

   10.    Do the parties wish to be referred to the EDNY’s Court-annexed mediation program

          pursuant to Local Civil Rule 83.8 (yes/no)? No       .

   11.    Do the parties consent to trial before a magistrate judge pursuant to 28 U.S.C. § 636(c)

          (yes/no)? No                  .
          (Answer no if any party declines to consent without indicating which party has declined.)

          If parties answer yes, then fill out the AO 85 (Rev. 02/17) Notice, Consent, and
          Reference of a Civil Action to a Magistrate Judge form. The form can be accessed at the
          following link: https://www.uscourts.gov/sites/default/files/ao085.pdf. Consenting does
          not affect a party’s right to a jury trial.

   12.    Other matters:

          This Scheduling Order may be altered or amended upon a showing of good cause not

   foreseeable at the date hereof.

   CONSENTED TO BY:

   Attorney for Plaintiff

       Name: Emanuel Kataev, Esq.
     Address: 3000 Marcus Ave., Suite 3W8, Lake Success, NY 11042-1073
   Telephone: (516) 303-1395
       Email:emanuel@mllaborlaw.com

   Attorney for Defendant                                             Attorney for Third-Party Defendant

       Name: Jonathon D. Warner, Esq.                                 Name: Leo Shalit, Esq.
     Address: 6 West 18th St., 10th flr., New York, NY 10011          Address: 45 Glen Cove Road
   Telephone: (212) 924-7111                                                  Greenvale, NY 11548
       Email:                                                          Telephone: (833) 742-5481 ex. 2
              jdwarner@wslaw.nyc                                       Email: leo@shalit-law.com
   SO ORDERED:



   JAMES R. CHO                                                Date
   United States Magistrate Judge
                                                   2
                                                                                        Rev. 4-19-2021
